SENTENCING:                   DATE: 10/14/2011
CASE CAPTION: USA v. Carol Wilson                               CASE NUMBER: 3:11-CR-80
Pltfs. Attorney: Segev Phillips                              Defts. Attorney: James Ambrose


 X            Defendant appeared with Counsel.

 X            Fined $ -0- on Count           .

 X            Special Assessment/Victims Crime Fund: $100.00 .

 X            Special Assessment to be paid immediately.

 X            Restitution in the amount of $ 151,721.71         .

 X            Defendant placed on probation for a period not to exceed five (5)    years.

 X            Conditions of probation supervision:

                X                Follow the rules and regulations of the Probation Department

                X                Defendant must not commit any crimes, either federal, state or local.

                X                Defendant must not own, possess, or traffic in any firearm or dangerous weapon.

                X                Defendant must not possess, use, or traffic in any controlled substance.

                X                Defendant must make themselves available for substance abuse testing and or treatment if requested by

                                 supervising agency.
                X                Defendant shall cooperate in the collection of DNA as required by statute.


              Other:                                           .


              Voluntary surrender

              Taken into custody

              Defendant remanded to custody of the U.S. Marshal.

 X            Defendant's rights of appeal explained and understood


COURT REPORTER         Leslie Foley                                 CONVENED:          10:45 a.m.

DEPUTY CLERK:       Liz Penski                                      RECESSED:          11:15 a.m.
